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 8                                UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                         No. 2:05-cr-0456 MCE CKD P
12                      Respondent,
13          v.                                         ORDER
14   SERGIO RAMIREZ,
15                      Movant.
16
17          Movant, a federal prisoner proceeding with counsel, has filed a motion to vacate, set

18   aside, or correct his sentence pursuant to 28 U.S.C. § 2255. The matter was referred to a United

19   States Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.

20          On September 13, 2017, the magistrate judge filed findings and recommendations herein

21   which were served on all parties and which contained notice to all parties that any objections to

22   the findings and recommendations were to be filed within fourteen days. Movant has filed

23   objections to the findings and recommendations.

24          In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C) and Local Rule 304, this

25   Court has conducted a de novo review of this case. Having carefully reviewed the entire file, the

26   Court finds the findings and recommendations to be supported by the record and by proper

27   analysis.

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     Case 2:05-cr-00456-DJC-CKD Document 144 Filed 11/28/17 Page 2 of 2


 1            Accordingly, IT IS HEREBY ORDERED that:
 2            1. The findings and recommendations filed September 13, 2017, (ECF No. 141) are
 3   ADOPTED in full;
 4            2. Movant’s June 15, 2016 motion for habeas corpus relief under 28 U.S.C. § 2255 (ECF
 5   No. 124) is DENIED;
 6            3. The court declines to issue the certificate of appealability referenced in 28 U.S.C. §
 7   2253; and
 8            4. The Clerk of the Court is directed to close the companion civil case, No. 2:16-cv-1316
 9   MCE CKD.

10            IT IS SO ORDERED.
11   Dated: November 27, 2017


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